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            EXHIBIT 1
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1                            UNITED STATES DISTRICT COURT
2                              DISTRICT OF MASSACHUSETTS
3                                                             CASE NO. 21-cv-10102
4       - - - - - - - - - - - - - - - - - -
5       THE SATANIC TEMPLE, INC.,
6                                   Plaintiff,
7                       v.
8       CITY OF BOSTON, MA,
9                                   Defendant.
10      - - - - - - - - - - - - - - - - - -
11
12
13
14                      AUDIOVISUAL DEPOSITION of CHRISTINE
15      O'DONNELL, a witness called by counsel for the
16      Plaintiff, taken pursuant to the Federal Rules of Civil
17      Procedure before Kristen L. Kelly, Registered
18      Professional Reporter, MA CSR No. 115893 and Notary
19      Public in and for the Commonwealth of Massachusetts, at
20      The Satanic Temple, 64 Bridge Street, Salem,
21      Massachusetts, on Thursday, August 25, 2022, commencing
22      at 9:32 a.m.
23
24


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1       A P P E A R A N C E S:
2       CROWN LAW
3          By:     Matthew A. Kezhaya, Esquire
4                  Sonia A. Kezhaya, Esquire
5                  300 N. Washington Avenue, #300
6                  Minneapolis, Minnesota 55401
7                  479.431.6112
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10                 For the Plaintiff
11
12      CITY OF BOSTON LAW DEPARTMENT
13         By:     Nicole O'Connor, Esquire
14                 Robert S. Arcangeli, Esquire
15                 City Hall, Room 615
16                 Boston, Massachusetts 02201
17                 617.635.2902
18                 nicole.oconnor@boston.gov
19                 robert.arcangeli@boston.gov
20                 For the Defendant
21
22      ALSO PRESENT:
23         Shawn Budd, Videographer
24         Lucien Greaves, Ada King, and Mobius


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1                             P R O C E E D I N G S
2
3                           THE VIDEOGRAPHER:           We are on the record.
4       The time is 9:32.
5                           MR. KEZHAYA:        Okay.       Ada, if you could
6       get us started please.
7                           MS. KING:      Very good.         Welcome,
8       everyone.       My name is Ada King.           I'm an ordained
9       Minister of Satan.       And I will be lowering the lights,
10      lighting some candles and reading our invocation.
11                          Let us stand now unavowed and unfettered
12      by arcane doctrines borne of fearful minds in darkened
13      times.
14                          Let us embrace the Luciferian impulse to
15      eat of the tree of knowledge and dissipate our blissful
16      and comforting delusions of old.
17                          Let us demand that individuals be judged
18      for their concrete actions not their fealty to
19      arbitrary social norms and elusory categorizations.
20                          Let us reason our solutions with
21      agnosticism in all things, holding fast only to that
22      which is demonstrably true.
23                          Let us stand firm against any and all
24      arbitrary authority that threatens the personal


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1       sovereignty of one or of all.
2                               That which will not bend must break and
3       that which can be destroyed by the truth should never
4       be spared its demise.
5                               It is done.      Hail Satan.
6                               MR. KEZHAYA:       Hail Satan.     Great.
7
8                                  DIRECT EXAMINATION
9       BY MR. KEZHAYA:
10             Q        So pleased that you all are gathered here
11      today.     I want to be very, very clear.                The purpose of
12      today's meeting is to get to the truth, that's it.                       We
13      are not a threat to you.              I want you to know that.
14      It's very important to me that you are aware of that.
15      Do you understand that, Christine?
16             A        I do.
17             Q        Thank you.
18                              MR. KEZHAYA:       I presumed -- sorry.      I
19      shouldn't have been so presumptuous.                   We should start
20      with who we are.           So I'm Matt Kezhaya.          I represent The
21      Satanic Temple against the City of Boston on charges
22      that City of Boston is not inviting TST to the
23      legislative prayer event that opens public meetings.
24                              You just heard the invocation that we


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1       City of Boston and I might have a dispute.                  All I
2       request is that to the extent there be contention, Rob
3       be intervening to fix the contention.
4                          MS. O'CONNOR:          I hope it's a nonissue,
5       but I think, I think this will be an issue that we
6       don't need to worry about.
7                          MR. KEZHAYA:         Okay.       Can we table that
8       then in the event of contention?
9                          MS. O'CONNOR:          I mean these are very
10      bizarre sort of stipulations or suggestions for a
11      typical deposition.        I'm happy to -- we'll work with
12      you amicably to resolve any issues, and I think this is
13      nonissue that we don't need to worry about.                  And if we
14      should get into some sort of dispute, I think we can
15      cross that bridge when we get to it.
16                         MR. KEZHAYA:         Understood.       Once again,
17      no contention.      Just looking for the truth.              And to the
18      extent we have any tabled issues, those obviously have
19      to go to the judge.
20                         Any objections as to anything that I, I
21      have proposed here?
22                         MS. O'CONNOR:          No.
23                         MR. KEZHAYA:         Anyone at all?       Okay.
24                         All right.        So that being the case, we


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1       have some important public documents that I just want
2       to make reference to.         I see no reason to show anyone
3       them.     There was the Complaint.             There was the answer.
4       There was a motion to dismiss.               There was the order
5       granting the motion to dismiss as to part, importantly
6       on the issue of government speech, and then Shurtleff
7       came out which importantly said that government speech
8       cannot be used to exclude certain religions.
9                          Any objections as to the court taking
10      note in, in the court -- in the course of understanding
11      the rest of this deposition of its own public docket?
12                         MS. O'CONNOR:          I don't really understand
13      what you're asking on the record but ...
14                         MR. KEZHAYA:         And to be clear, I'm not
15      saying this for the court's benefit.                   I'm saying this
16      for the congregants' benefit.
17                         MS. O'CONNOR:          Okay.       I don't --
18                         MR. KEZHAYA:         The congregants are, are
19      gonna be needing to know that they need to take a look
20      at the Complaint, the answer, the motion to dismiss,
21      the order granting motion to dismiss importantly as to
22      government speech and Shurtleff which overturned
23      government speech.       That's the only thing that the
24      congregants need to take note of.                   I'm telling them


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1       this by using those words.
2                              MS. O'CONNOR:        Okay.
3                              MR. KEZHAYA:       But, you know, again,
4       obviously the court's going to take note of its own
5       docket.         We'll -- we'll figure out docket numbers if,
6       if the needs end up being.
7                              So, that all being the case, I propose
8       that we proceed with the deposition.                  Any objections?
9                              MS. O'CONNOR:        No.
10             Q         Please identify yourself for the benefit of
11      the public.
12             A         Christine O'Donnell.          I'm the Compliance
13      Director and staff counsel for the Boston City Council.
14                             THE REPORTER:        Do you want -- I'm sorry
15      to interrupt.          Do you want her sworn in first or ...
16             Q         Oh.   Christine, are you gonna lie?
17             A         I'm not but ...
18                             MS. O'CONNOR:        I think we should swear
19      her in just for consistency of the testimony.
20                             MR. KEZHAYA:       I like ceremony.     Let's
21      swear her in.
22
23                               CHRISTINE O'DONNELL
24


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1              Q        Tell us more about the Federal Rules of Civil
2       Procedure.
3                            MS. O'CONNOR:        Objection.
4                            MR. KEZHAYA:       What -- what's the nature
5       of your objection?
6                            MS. O'CONNOR:        As they pertain to what?
7                            MR. KEZHAYA:       She's the one who said it.
8       I'm asking her to expound.
9                            MS. O'CONNOR:        On her understanding of
10      what the Federal Rules of Civil Procedure are?
11                           MR. KEZHAYA:       Correct.
12                           MS. O'CONNOR:        Okay.
13             A        Just my understanding is I'm here because of
14      that rule.        I am not a litigator for the Boston City
15      Council so that -- it's my understanding that I'm here
16      pursuant to that rule.
17             Q        Let me back up with a little bit of
18      exposition.        The lawyers in the room speak a certain
19      language that the congregants do not speak.                   I'm trying
20      to take out the legalese.            So 30(b)(6) means something
21      to all four of us and also Sonia.                   I doesn't mean
22      anything to them.        So when you say 30(b)(6), I know
23      what you mean.        They don't know what you mean.
24                      What is a 30(b)(6) deposition?


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1              Q        Okay.   Or at least not to your knowledge?
2              A        Not to my knowledge.
3              Q        Okay.   Let's see here.
4                       Okay.   So going back to the topic at hand,
5       the Council President came to you with a request as to
6       the Council's legal obligations as to a nondescript
7       matter; is that correct?
8              A        Yes.
9              Q        What was the matter?
10             A        The matter was at the time I believe she
11      received an email from TST to request being put on to
12      give the invocation, requesting an invitation to give
13      the invocation.
14             Q        Okay.   And so her --
15             A        And I believe the email to her, in my review
16      I believe it was around the Lund case, citing because
17      of recent case law the Satanic Temple would like to be
18      put on the next available meeting to give the
19      invocation.
20                      I was asked to look into the -- that case and
21      whether or not the City Council was required to oblige.
22      The City Council does not take requests.                   It -- the
23      invitations for the invocation are based upon personal
24      relationships the councilors have.                   It's by invitation


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1       only.
2               Q        Don't take requests.
3                        Why don't -- why doesn't the City Councilors
4       take requests?         What's the reason why not?
5               A        Because the invocation is each councilor has
6       a turn for a particular meeting to invite someone to
7       give the invocation, and it's based upon personal
8       relationships that that councilor has.               It's based upon
9       people that they have relationships with because of
10      their districts.         It might be work that the individual
11      does in their districts or does for their constituents.
12      That has been the policy.
13              Q        That's been the policy or has that been the
14      custom?
15              A        Policy and custom.        I would say both.
16              Q        And I, I -- I do a lot of First Amendment.
17      I'll just tell you.         In my understanding those two mean
18      slightly different things.             Policies are written down,
19      codified, and there are like procedures involved;
20      whereas, customs are just like this is kinda how we do
21      things.         So was this -- is this more of a custom or is
22      this more of a policy?
23              A        In my capa -- in my work, what I do, I do not
24      really consider a policy being written down.


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1              Q        Okay.
2              A        I use the terms interchangeably.            With your
3       definition, I would define it more as a custom.
4              Q        Okay.
5              A        The City Council does not have a written
6       policy --
7              Q        Okay.
8              A        -- about it's -- but it's understood that
9       it's by invitation.
10             Q        Okay.     I understand that it's understood that
11      it's by invitation.           I'm asking why not.
12                              MS. O'CONNOR:        Objection.   But you can
13      answer if you understand.
14             A        You're -- can I ask a clarification?
15             Q        Yeah.     Yeah.
16             A        You're asking me why not -- why it's not
17      written down?
18             Q        Well, yeah, let's start there.            Why isn't it
19      written down?
20             A        I am not sure.
21             Q        Okay.     I was actually going a different, a
22      different route which is why is there not some kind of
23      a mechanism for people to request an invite?
24             A        Because the mechanism is that the councilor


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1       is the individual that controls who they invite.
2              Q        Okay.   It sounds like it's just whatever the
3       councilor wants to do then.
4              A        Correct.
5              Q        Okay.   Why?
6              A        That's been the custom.
7              Q        That's just how things go, in other words?
8              A        Yes.
9              Q        Okay.   All right.        So you issued an opinion,
10      the details of which I don't much care about,
11      essentially, no, suffice it to say, you don't have to
12      order them in because the way we've always done things
13      is that you can if you want to.                  If you don't want to,
14      you don't have to.         Is that a fair recitation of the
15      way things go?
16             A        Yes.
17             Q        Okay.
18             A        And if I could just clarify.
19             Q        Yeah.
20             A        It wasn't a formal legal memo.            I was asked
21      to assist the councilor in drafting a letter.                  I
22      believe she provided an email response back to TST.
23             Q        I, I think that ... let's see here.
24             A        If I recall.


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1       example?
2              A        With City decision makers?
3              Q        Yeah.     I mean the people at the City who make
4       the decisions I assume are called the Council; is that
5       correct?
6              A        I know them because I work for them.
7              Q        Yeah.     Outside of that, though, do you have
8       any relationship of any sort?
9              A        No.
10             Q        Okay.     Investigation, okay.
11                      What investigation or preparation have you
12      done so far?           Up to, up to walking into that door, what
13      preparation, what did that entail?
14             A        So I've met with my counsel, Rob and Nicole,
15      numerous times to talk about this.                     I spoke with
16      Councilors' staff, the employees that work for the City
17      Councilors.           I've researched City Council minutes, City
18      Council agendas.           I looked through the documents that
19      were produced for discovery.
20             Q        Okay.
21             A        I spoke with other relevant parties that
22      were -- that have experience with the subject matter in
23      the, the deposition to find out, you know, City
24      policies.


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1              Q        Okay.     Let's take these in turn.
2                       So you said you talked with members of the
3       Coun -- well, you said Council.                   I may have misheard.
4       Did you speak with members of the people who vote on
5       things for the City or did you speak with your
6       attorney's counsel, because those are -- you know, they
7       sound the same.
8              A        I spoke with Rob and Nicole.
9              Q        Okay.     Did you talk to any of the people who
10      actually send the invitations or request the
11      invitations?
12             A        Oh, okay.     I'm sorry.          I -- when you -- when
13      I said counsel, I meant my counsel, Rob and Nicole.
14             Q        Okay.
15             A        The City Councilors, --
16             Q        Mm-hmm.
17             A        -- I spoke with their staff about how the
18      councilors decide.
19             Q        Councilors, okay.
20             A        And I also have -- only because in my
21      capacity I attend the City Council meetings.
22             Q        Oh, okay.
23             A        They generally happen on Wednesdays.
24             Q        Okay.


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1              Q        Okay.    Okay.    When -- just still narrowing
2       down on this other parties.               Are there any other other
3       parties that are in this other parties category?
4              A        No, I think that covers it.
5              Q        Okay.    So then we've got that one done.
6                       You talked to staff.           Who, who did you -- who
7       all staff did you talk to?
8              A        So there's 13 City Councilors.             So I asked
9       the employees -- do you want specific names or ...
10             Q        Yeah.    Yeah, let's talk names.           What have we
11      got?
12             A        I spoke to Amanda Curley.             She works for
13      Councilor Baker.          I asked her how does the councilor
14      generally decide, and she said it's people that he has
15      a personal relationship with or that he knows from the
16      district that are -- that do work within the district.
17             Q        Okay.
18             A        I've spoken to -- I can't even recall.
19      Most -- I've spoken to pretty much someone in every
20      single council office to ask.
21             Q        But that's the gist?
22             A        Yes.
23             Q        Is that ...
24             A        Yes.    For all of them it's those common


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1       factors exist.
2              Q        How far back does this custom go?
3              A        So I did research as I indicated.
4              Q        Oh.
5              A        I did research the City documents and City
6       Council minutes.          I am not sure of the exact time that
7       the invocation originated, but going back to the 1800s,
8       the City Council has had someone give an invocation.
9       When I went back to look at the documents from the
10      1800s, the -- a clergy person gave the invocation
11      generally at the inauguration.                 With the way the
12      minutes were done back then, it's hard to tell if every
13      single meeting after that there was an invocation.
14             Q        Mm-hmm.
15             A        But from the 1800s, clergy and invocations
16      were part of the City Council meetings.
17             Q        It's basically always been part of the thing?
18             A        Yes.
19             Q        Did anyone address why it's part of the
20      thing, in any of the records that you've seen?
21             A        Not that I have seen.
22             Q        Do you have an opinion as to why it is?
23                             MS. O'CONNOR:        Objection.   You can
24      answer that.


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1       some kind of primary historical rec -- I'm using jargon
2       terms again.           You looked through papers from like the
3       1800s; is that correct?
4              A        Yes, the minutes.
5              Q        Okay.     Where did you find those?
6              A        The City of Boston has books of all the past
7       minutes going back to the 1800s.                   In the 1800s it was
8       an alderman form of government so it's a little bit
9       different.        But the City Council has books that are
10      available to the public.              It's also at the City of
11      Boston archives.           And more recently, all of the City
12      Council meetings are online.
13             Q        Yes.     Yes.   I think they're on YouTube
14      nowadays, right?
15             A        Yes.     And I believe they have been online
16      since 2011.
17             Q        Okay.     Now, you said it used to be an
18      alderman government, and things are different now.
19      What's the distinction between aldermen and whatever it
20      is now?
21                      And do you -- actually, let me back up.
22      Before, before you answer that question, let's start
23      with you said it was aldermen before, and now it's
24      something different.            What is it called now, so we have


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1       a short designation for that?
2              A        City Council.
3              Q        Okay.    So alderman vs. city council.
4              A        They, they both were the local government for
5       the City of Boston.
6              Q        Yeah.    Yeah.
7              A        And -- right.      The City Council has 13
8       members.
9              Q        Yeah, I'm starting off because I want to, I
10      want to understand the distinction between al -- you
11      saw fit to mention.          It's clearly something of
12      interest.        What is the difference between alderman and
13      City Council form of government?
14             A        I'm not sure what the difference is except
15      for the -- they're both local form of governments.                   I
16      didn't look into what the difference was.
17             Q        I see.
18             A        I just know that right now it's the City
19      Council.        1909 was the Chapter 486 of the Acts of 1909.
20             Q        Wait.    Wait.    Wait.      Slow down.   Slow down.
21      So Chapter 84.
22             A        Chapter 486.
23             Q        Sorry.    486?
24             A        Yes.


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1              Q        486.
2              A        Of the Acts of 1909.
3              Q        Of 1909.
4              A        That was when the City of Boston became a
5       council form of government.
6              Q        Was that like a charter by the state
7       government or like a --
8              A        It was a charter within the City of Boston.
9              Q        Okay.   So it sounds like a statute was passed
10      in Massachusetts proper.             Boston encoded its
11      organizational purposes into some kind of a written
12      document.        Is that right so far?
13             A        Boston -- Boston -- it, it started with
14      Boston then the state approved it.
15             Q        Okay.
16             A        That's how it works.
17             Q        So internal inside of Boston sometime before
18      1909 there was some kind of internal movement to say,
19      hey, things are different.              We should encode, encode
20      how things are -- should be going moving forward?
21             A        I'm assuming that that's how --
22             Q        Well, yeah.
23             A        -- it happened.
24             Q        Well, yeah.     That's, that's the best that we


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1       can surmise based off the fact that it's here.
2              A        But, but that -- the cite that I gave you,
3       that is what established the City Council form of
4       government.
5              Q        Okay.   Let's see.       So I think that answers
6       all of my history-related questions.
7                       Did you have any other staff who were
8       noteworthy in the course of your investigation?
9              A        No.
10             Q        Okay.   What about employees?
11             A        No.
12             Q        Okay.   I have a note looked through.           I think
13      that had something to do with discovery.                 Did you find
14      anything of interest in the course of looking through
15      discovery, in your opinion?
16             A        No.
17             Q        Okay.   I have -- okay.          This is just
18      generally about meetings.             Payment records I think I'm
19      good on that.
20                      Okay.   You addressed meetings.          You said, if
21      I remember correctly, they happen on Wednesdays.                    How
22      long do these meetings usually last?
23             A        So it depends on what's on the agenda.              And
24      it's not every single Wednesday, but it's most


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1       that.
2               A       No, it's ...
3               Q       Public body is actually the organization.
4       The public is the not body.                So members of the public
5       will communicate to the public body their desires
6       pursuant to designated person?
7               A       Yes.
8               Q       Okay.     And some of those opinions were we
9       don't want TST to give a prayer?
10              A       I reviewed some emails where the public sent
11      to their councilors.            I can't recall which ones in
12      particular, but I did see emails where members of the
13      public expressed that view to their councilor.
14              Q       Okay.     Do you have any specific instances in
15      mind?
16              A       I, I can't recall.           I just -- I remember
17      seeing some emails.
18                              MR. KEZHAYA:       You know, we've been going
19      on for a decent amount of time now.                    I'm parched.   Does
20      anyone else want a break?               Because I also have to like
21      get some emails together and do some exhibit stuff.
22                              MS. O'CONNOR:        Sure, we can take a
23      break.
24                              THE VIDEOGRAPHER:          Okay.   The time is


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1       objected to.          Is there something that I'm
2       misunderstanding about your objection?
3                              MS. O'CONNOR:        Ask your question again.
4       Let me hear it.
5       BY MR. KEZHAYA:
6               Q       City of Boston, do you bless your meetings?
7                              MS. O'CONNOR:        That's a fair question.
8               Q       Yes or no.
9               A       No.
10              Q       You do not.     Okay.
11                             MR. KEZHAYA:       Let us continue.        Back at
12      7:00.
13                             MS. KING:     7:00?
14                             MR. KEZHAYA:       Seven minutes even.           Ah,
15      6:50, 7:00 minutes.           That's fine.            Whatever, 7:00.     I'm
16      sure she's saying nothing of importance.                     That's good.
17      6:49, that's good too.
18                                 (Video playing.)
19                             MR. KEZHAYA:       Pause here.
20              Q       In the past 45 seconds I've heard her call
21      the councilors your servants, servants.                     She's called
22      this a blessing, and she has requested that God
23      literally endow his servants with knowledge.                     Have you
24      heard all those things or do we need to watch the last


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1       it disrespectfully.
2                            MR. KEZHAYA:       Then I need a break.
3                            MS. O'CONNOR:        Okay.       That makes sense.
4                            THE VIDEOGRAPHER:          Okay.     The time is
5       12:21.     We're off the record.
6                               (Break was taken.)
7                            THE VIDEOGRAPHER:          Okay.     We are back on
8       the record.        The time is 12:31.
9                            MR. KEZHAYA:       Okay.        Off the record I
10      apologized for my errant ways.               Once again, looking you
11      both eyes, I apologize sincerely.                   Sincerely, okay?
12                           MS. O'CONNOR:        Thank you.
13                           MR. KEZHAYA:       You're welcome.
14      BY MR. KEZHAYA:
15             Q        The subject of dispute is basically I'm
16      coloring outside the lines of my 30(b)(6) notice.                      So
17      that being the case, specifically with regard to "the
18      bases for limiting who may participate" which is more
19      particularly included with the term "a background on
20      the City's invocation ceremony", my question to you is
21      whether there are bases for limiting who may
22      participate, yes or no?
23             A        It's by invitation.        So the limit would be if
24      you don't get an invitation, you don't give the


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1       invocation.
2              Q        So the answer is yes, and the basis is
3       singular which is you were not invited?
4              A        Yes.
5              Q        Okay.     All right.       And as I recall, earlier
6       you said you investigated why -- how and why a
7       particular speaker is selected in the course of
8       preparing for this deposition; is that correct?
9              A        I didn't investigate how or why -- oh, well,
10      if you're asking -- I asked staffers of city councilors
11      how a councilor determines who they invite.                   Is that
12      what you're asking?
13             Q        That is what I'm trying to ask.
14             A        Yes.
15                              MR. KEZHAYA:       Nicole, may I rephrase it
16      as I see fit or am I bound --
17                              MS. O'CONNOR:        Sure.
18                              MR. KEZHAYA:       -- to the language?
19             Q        Basically what I'm trying to get at here is
20      pursuant to your earlier conversation here, you -- like
21      you got here.           Before you got here, --
22             A        Yes.
23             Q        -- you did an investigation.           That
24      investigation included talking to people.


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1              A        Yes.
2              Q        Did you talk to the people for your
3       investigation why a particular matter or why a
4       particular speaker is selected or any permutation in
5       your mind thereof?
6              A        I asked how a councilor determines who
7       they're going to invite for the invocation.
8              Q        Okay.     Pause there.        And why.     Did you ask
9       why, yes or no?
10             A        I did not because that answer was part of the
11      answer that the staff person gave me.
12             Q        So the -- I tasked you with giving me how and
13      why a particular speaker is selected.                    You went out.
14      You found how.           You did not investigate why; is that
15      correct?
16             A        The --
17                              MS. O'CONNOR:        Objection.     You can
18      answer.
19             A        The response from the staff persons that I
20      asked said, oh, it's someone that the councilor has a
21      personal relationship with or does work within our
22      district or has done work with our constituents.
23             Q        Okay.     And --
24             A        So that would be the why.              That would be why


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1       a councilor extends an invitation to somebody.
2               Q       Yes.    Yes.      Thank you.
3                       That sounded like a quote.             Were you given a
4       quote or is this just you referencing your prior
5       statement?
6               A       It's not a quote.          It's me summarizing the
7       question that I asked the staffers.
8               Q       Okay.     So you had some kind of a dialogue
9       with staffers?
10              A       Yes.
11              Q       Minimally you asked a question.             Did you get
12      one statement or more than one statement in return?
13              A       I, I asked more than one staffer so, yes,
14      more than one statement.
15              Q       Did you ask each staffer -- let's do it like
16      this.       How did you ask each staffer this question?
17              A       I asked what does -- how, how does the
18      councilor determine who to invite for the invocation.
19              Q       In what form --
20              A       The same question.
21              Q       Yeah.     Yeah.
22                      What form was this inquiry made?             Was it
23      spoken, written or something else?
24              A       Spoken.


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1              Q        Okay.     So you met with them in person or did
2       you talk to them on the phone or was there some other
3       means of communication?
4              A        It was in person.
5              Q        Okay.     When was this meeting?
6              A        It wasn't a meeting.            It was just a
7       conversation.           Probably about two weeks ago.
8              Q        Okay.     So give or take two weeks ago.          How
9       many -- well, was this -- did you guys all meet in one
10      place?     Because you mentioned you talked to multiple
11      staff, plural staff people.
12             A        Talked to a couple of people.
13             Q        Okay.     Who were the two people that you
14      talked to?
15             A        Amanda Curley.
16             Q        C -- how do I spell Curley?
17             A        C-u-r-l-e-y.
18             Q        E-y.     Thank you.
19             A        You're welcome.
20             Q        And just for sake of good notes, a-n-d-a.
21                      Okay.     So you talked to Amanda.         Who else did
22      you ...
23             A        Sophia Wang.
24             Q        Sophia Wang.


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1                       Okay.   Who is Amanda Curley in the
2       organization?
3               A       Amanda Curley is the Chief of Staff for
4       Councilor Baker.
5               Q       Chief Staff Baker.         K-e-r?
6               A       Yes.
7               Q       Okay.   Sophia Wang is?
8               A       She is the policy director for councilor
9       Flynn.
10              Q       C director for F-l-y-n-n.
11                      And it's the City's position that the
12      councilors may -- basically the councilors have -- you
13      know, whatever they do, that's pretty much up to them.
14      That's pretty much the custom; is that correct?
15              A       Yes.
16              Q       In terms of extending invites, each -- each
17      person does whatever they feel like is essentially ...
18              A       Yes.
19              Q       You talked to two, by my count, councilors
20      for a time period, an agreed time period discoverable
21      scope of 2011 until minimally the date of the
22      complaint, although that's a subject of dispute as
23      well.       How, how many councilors have been, you know,
24      employed by the City during that timeframe?


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1              A        So there has been a lot of turnover.
2              Q        Yeah.
3              A        The City Council has -- their election is
4       every two years.         It's a two-year term.        So since I
5       started in 2011, there -- actually, all of the
6       councilors are gone since I first started in 2011.
7       It's all new councilors right now.
8              Q        Okay.
9              A        So part of the reason why I reached out to
10      those two councilors' offices, Councilor Baker started
11      in 2012/2013.
12             Q        Okay.
13             A        And although Councilor Flynn is a newer
14      councilor, I believe his first term was 20 ... 2018.                   I
15      think.     But he is the Council president.            So that is my
16      reasoning for speaking to those two offices.
17             Q        So he's the council president?
18             A        Councilor Flynn is the council president,
19      yes, the current council president.
20             Q        Okay.   So Flynn is currently the -- currently
21      the Council president, correct?
22             A        Yes.
23             Q        When did he first became council president?
24             A        This, this year.


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1               Q       Oh, wow, okay.
2               A       Yes.
3               Q       Council pres, all right.
4                       You gave me beginning dates for both Baker
5       and Flynn.        Are they still --
6               A       Yeah, approximately.
7               Q       Well, yeah, obviously.
8               A       Yeah.
9               Q       Yeah, everything's approximate.           I'm not
10      playing semantics games here.                 Give or take 2012,
11      that's what this squiggly line means for my purposes.
12              A       Mm-hmm.
13              Q       Are they still councilors, though?
14              A       Yes.
15              Q       Okay.     Present.      And present.
16                      Okay.     So you talked to Flynn to determine
17      how Flynn does things, but you did not talk to anyone
18      else, it seems, or other than Baker?
19              A       No.
20              Q       Okay.     All right.       Turning once again back to
21      here.       Mm-hmm.     Mm-hmm.      Mm-hmm.
22                      All right.      Why didn't you talk to anyone
23      other than Flynn's people?
24              A       Well, I talked to Councilor Baker's --


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1              Q         Oh, yes.
2              A         -- people because, again, he's been there the
3       longest now and Councilor Flynn because he's the
4       council president.
5              Q         Oh, so you --
6              A         And I -- as I said previously, I have
7       attended the meetings so I can see from the
8       introduction and I know that the policy is based on
9       invitation and that's why I'm here to discuss that
10      policy.         So I spoke to those two offices just to get an
11      idea how their councilors pick the individual that
12      gives the invocation.
13             Q         You specify how, but I also charged you with
14      specifying why.
15             A         And again, I feel that I answered that.            It's
16      individuals that the councilors have a relationship
17      with, and the Council -- it's by invitation.
18             Q         Well, sorry, I was --
19             A         I, I -- I feel that the councilors are the
20      only ones that can speak to why they're asking
21      somebody.         I can infer based on the invites that it's
22      people that they know because of a personal
23      relationship or work they do within the City.
24             Q         Yes, but that's an inference, and as their


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1       employer who has charged them to do certain tasks for
2       your business purposes, that, I posit, is a material
3       aspect of the agency seeing as how you, 30(b)(6)
4       witness, are unable or unwilling to testify to that
5       effect.         Would you agree then that I need to talk to
6       the individual councilors, each?
7              A         Yes.
8              Q         Okay.     In order -- to be more -- to make a
9       better record, I heard yes.                 I interpreted that to mean
10      yes for the particular purpose of why are they not
11      inviting TST, why are they inviting these other people.
12      For example, I would need to talk to Wu about this
13      particular person and why Wu in particular would not
14      invite TST, correct?
15             A         Wu didn't invite TST.             There -- there was
16      never an invite.
17             Q         I understand.       The why question is addressed
18      to Wu, though, correct?
19             A         Yes.
20             Q         Okay.     Who would I talk to in Wu's office or
21      on Wu's behalf in order to get her deposition set up
22      because we only have like two months left in discovery?
23                               MS. O'CONNOR:        Objection.    I mean I'm
24      happy to coordinate --


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1                            MR. KEZHAYA:       Okay.
2                            MS. O'CONNOR:        -- that information.          I
3       don't think Christine will know it.                  You can ask her.
4                            MR. KEZHAYA:       You don't need to call an
5       objection.        You can just ...
6                            MS. O'CONNOR:        Okay.
7                            MR. KEZHAYA:       Okay.       All right.   I, I
8       bring that up because words like "objection" have a
9       tendency to, to get me riled up.                I'm trying to, trying
10      to keep it down.
11                           MS. O'CONNOR:        That's just pretty
12      standard.
13                           MR. KEZHAYA:       Okay.
14      BY MR. KEZHAYA:
15             Q        All right.   And I also see on my handy list
16      here, paragraph 4, City's recordkeeping policies
17      surrounding payment to guest speakers at the invocation
18      policy which presupposes that this person who is
19      presently blessing the proceedings, although that's
20      subject to dispute, Wu invited this priest and this
21      priest is paid by the City for speaking at this event;
22      is that correct?
23             A        The people that give the invocation are no
24      longer paid.


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1       did not conduct this review.                 But the review of the
2       policy of paying the people giving the invocation was
3       looked at, and it was determined that it was best
4       practice to stop the stipend.
5              Q        Okay.     And, City of Boston, was it -- is it
6       your testimony, as we sit here today, that since
7       approximately 2016 - let's bookend it at 2018 - people
8       have not been getting paid since at least going back to
9       2018-ish?
10             A        Correct.     And I'm, I'm pretty -- I'm pretty
11      sure it was 2017.           I'm pretty sure you can settle on,
12      on that.
13             Q        Okay.
14             A        That it was 2017 when the payment stopped.
15             Q        Okay.     Who made that decision?
16             A        At the time it was Council President Wu.
17             Q        Oh, so Councilor Wu, here who invited this
18      particular person, I should probably ask her why she
19      decided to turn off this money thing?
20             A        Yes.
21             Q        Okay.
22                              MR. KEZHAYA:       Let us proceed.
23                                  (Video playing.)
24                              MR. KEZHAYA:       Amen.       All right.   Pause


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1       through discovery.
2                       To recap, Christine, you looked at the
3       discovery, correct?
4              A        Yes.
5              Q        Okay.     And more particularly, I apologize,
6       discovery is a legal jargon term.                      Could you please
7       explain to the, the congregants what it means to have
8       discovery?
9                               MS. O'CONNOR:        Objection.       You can
10      answer.
11             A        My understanding is that it's requests for
12      information and documents pur -- before litigation or
13      during litigation.           Again, I'm not a litigator so I'm
14      not familiar with the proper terms.
15             Q        That's okay.       If I, if I dispute any part of
16      what you have to say to me, I ask further examining
17      questions until we get to the place where I feel like
18      we're either at an impasse or I understand what you're
19      saying.
20             A        Okay.
21             Q        So if I could rephrase it in my own words, is
22      it fair to say that discovery is a means by which you
23      prepare for trial that the rules allow you to have?
24             A        Yes.


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1       That's the full statement; otherwise, it's a speaking
2       objection which is objectionable and grounds for
3       discovery sanctions.
4                               MS. O'CONNOR:        Oh, okay.      Christine,
5       answer that question if you can.
6               Q       Please do.      Yes or no:         Are you in a position
7       to disprove that in Aramaic words 2000 years ago Lord's
8       servants was meaningfully different from Lord's slaves?
9               A       No.
10              Q       Okay.
11                              MR. KEZHAYA:       That's a Wu question.         17
12      is just a Wu question.             I'm kinda just skimming through
13      to get us through the end of this.                     Bases or source of
14      each.       Ah, that's a Wu question.              Wu question.    Wu
15      question.        Wu question.       Mm-hmm.
16              Q       I take note, number 22, once again
17      specifically identifies any statement -- inclusive of
18      any statements that were written that any councilor has
19      made or either has prepared or has had prepared for
20      them but did not make about Satanism, TST, its
21      membership or its activities.
22                      I take note that you are not prepared to talk
23      about that Mayor Wu's former political opponent email
24      in which she found TST and its viewpoint absurd; is


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1       that correct?
2              A        Yes.
3              Q        Okay.
4                               MR. KEZHAYA:       Just once again making
5       very abundantly clear that the witness was unprepared
6       to speak to item number 22.
7              Q        Number 23 --
8                               MS. O'CONNOR:        She's prepared to speak
9       about 22.
10                              MR. KEZHAYA:       Oh, she is.      Fantastic.
11             Q        So what was going on in Mayor Wu's former
12      political opponent's head when she described it as
13      absurd that TST would think it entitled to an invite?
14                              MS. O'CONNOR:        So paragraph 22 doesn't
15      ask for the subjective intent of the councilor.                      It
16      just asks for a statement that any councilor has made
17      and so she has fully answered those questions today
18      about that statement that was put up on the screen.
19                              MR. KEZHAYA:       These are matters for
20      examination.           I get to ask the who-what-when-where-why.
21                              MS. O'CONNOR:        We fundamentally disagree
22      about that.
23                              MR. KEZHAYA:       I see.      Well, you
24      understand that my next thing is to move for discovery


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1                       Having sat through 11 years worth of
2       meetings, how many of these invocations are Christian?
3              A        I don't have an exact number.             There -- the
4       majority Christian but within Christianity there's
5       different sects of religion.
6              Q        Sure.
7              A        There's also been a number of representatives
8       from other types of religion.                 There's been some
9       laypeople throughout the years.
10             Q        So --
11             A        So I cannot give -- I do not have an exact
12      number or percentage.
13             Q        Okay.     So the City will even extend
14      invitations to nonministers of proper religious
15      entities, just any random person of the public who
16      wants to give a prayer?
17                              MS. O'CONNOR:        Objection.
18             Q        Correct?
19                              MS. O'CONNOR:        You can answer.
20             A        Again, it's by invitation from the City
21      Councilor.
22             Q        Mm-hmm.
23             A        And there have been instances where an
24      individual from an organization that does work within


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1       the community may give the invocation.
2                            MR. KEZHAYA:          Okay.       Number 27, skip.
3       Skip.       Skip.   Okay.     That's the end of those topics.
4               Q       I posit -- I keep using words like posit and
5       proffer.        These are formal legal -- formal logic, I
6       should say, not legal.             Law is based on formal
7       discourse which is formal logic, so I kind of use the
8       terms interchangeably.             I apologize.          Again, I'm bad
9       with words.
10                      A proffer is to make a statement that you
11      posit is true.        Something can be either true or false.
12      Opinions cannot be proved true or false.                     Not because
13      opinions are not true or false, but because the First
14      Amendment says that the government may not punish true
15      or false opinions.          That's where we get defamation law
16      from.
17                      So back in the day in common law, defamation
18      was strict liability.            You said something bad about
19      someone, well, you better be prepared -- you better be
20      ready to prove it's true.               All of that changed in the
21      mid 1960s or so with a bunch of free speech stuff.
22                      I say all of that to say that irrespective as
23      to the impasse on whether, in fact, the City of Boston
24      finds TST's religious viewpoint to be absurd, we see


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